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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :
                                                  :
      v.                                          :   CRIMINAL NO. 21-cr-541 (PLF)
                                                  :
 FI DUONG,                                        :   VIOLATION:
 also known as “Jim,”                             :   18 U.S.C. § 231(a)(3)
 also known as “Monkey,”                          :
 also known as “Monkey King,”                     :
                                                  :
              Defendant.                          :

                                    INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, FI DUONG, committed and

attempted to commit an act to obstruct, impede, or interfere with a law enforcement officer from

the United States Capitol Police, lawfully engaged in the lawful performance of his/her official

duties incident to and during a civil disorder which in any way obstructed, delayed, and adversely

affected commerce and the movement of any article and commodity in commerce and the

performance of a federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           United States Attorney


                     By:           /s/
                           STUART D. ALLEN
                           Assistant United States Attorney
                           601 D St, N.W.
                           Washington, D.C. 20530
                           (202) 252-7794
                           stuart.allen@usdoj.gov




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